Case 3:19-cv-07270-WHA Document 395-11 Filed 02/11/22 Page 1 of 3




            Exhibit 10
             Case 3:19-cv-07270-WHA Document 395-11 Filed 02/11/22 Page 2 of 3
Message

From:       no_reply@telescope.tv [no_reply@telescope.tv]
Sent:       2/4/2014 10:57:22 PM
To:         Matthew Paglusch [/O=CRICKET COMMUNICATIONS/OU=EXCHANGE ADMINISTRATIVE GROUP
            (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=Mpaglusch]
Subject:    Campaign Manager - Campaign Completed - iPhoneT&C_SPA_2.4



Campaign iPhoneT&C_SPA_2.4 has completed successfully

Campaign ID: 19283

Scheduled Start Date: 2014-02-04
Scheduled End Date: 2014-02-05
Start Time: 09:00:00
End Time: 16:00:00

Total Rows : 548
Total Sent: 546




                                                                                           CRICKET3699343
      Case 3:19-cv-07270-WHA Document 395-11 Filed 02/11/22 Page 3 of 3

                                      CRICKET3699343


                                            Metadata
Begin Family        CRICKET3699343                                                  SEMANTIC
Custodian           Cricket                                                         SEMANTIC
Date Modified       2014/03/20 4:09 pm                                              SEMANTIC
Date Received       2014/02/04 10:55 pm                                             SEMANTIC
Date Sent           2014/02/04 10:57 pm                                             SEMANTIC
End Family          CRICKET3699343                                                  SEMANTIC
Extension           MSG                                                             SEMANTIC
Family Date         2014/02/04 10:57 pm                                               VIRTUAL
Filename            Campaign Manager - Campaign Completed - iPhoneT&C_SPA_2 4.msg   SEMANTIC
From                no_reply@telescope.tv <no_reply@telescope.tv>                   SEMANTIC
MD5 Hash            7E38924B4AAFB6FD92AD467993A36A1E                                SEMANTIC
Primary Date        2014/02/04 10:57 pm                                              DOC_TYP
                                                                                      E_ALIAS
Production Volume   CRICKET_VOL055                                                  SEMANTIC
Subject             Campaign Manager - Campaign Completed - iPhoneT&C_SPA_2.4       SEMANTIC
To                  Matthew Paglusch <mpaglusch@cricketcommunications.com>          SEMANTIC
